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CR 12 Rev. 53) WARRANT FOR ARREST
OISTRICT
United States istrict Cont
SOUTHERN DISTRICT OF NEW YORK
DOCKET NO. MAGISTRATE’S CASE NO.
UNITED STATES OF AMERICA
Vv.

SEYED AMIN GHORASHI SARVESTANI,
a/k/a "Amin Ghorashi,”
a/k/a "Amin Gorechi,"

O Order of Court
X Complaint

WARRANT ISSUED ON THE BASIS OF:
O Indictment’ © Information

SEYED AMIN GHORASHI SARVESTANI,
a/k/a "Amin Ghorashi,"
a/k/a “Amin Gorechi,"

DISTRICT OF ARREST

TO: UNITED STATES MARSHAL OR ANY OTHER AUTHORIZED OFFICER

city °

YOU ARE HEREBY COMMANDED to arrest the above-named person and bring that person before the United States

District Court to answer to the charge(s) listed below.

DESCRIPTION OF CHARGES

Conspiracy to violate export regulations

IN VIOLATION OF UNITED STATES 30 SECTION 1705
BAIL | OTHER co IONS OF RELEASE
ORDERED BY 5 pe “Nuge onnle
CLERK OF COURT Un ted a nes sist ne CLERK DATE ISSUED

wt New York

RETURN

This warrant was received and executed with the arrest of the above-named person.

DATE RECEIVED

DATE EXECUTED

NAME AND TITLE OF ARRESTING OFFICER

SIGNATURE OF ARRESTING OFFICER

Note: The arresting officer is directed to serve the attached copy of the charge on the defendant at the time this warrant is executed.

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Approved: {AA

JASON B. SMITH/RACHEL P. KOVNER
Assistant United States Attorneys

Before: THE HONORABLE FRANK MAAS
United States Magistrate Judge
Southern District of New York

UNITED STATES OF AMERICA : SEALED COMPLAINT
-v.- : Violation of

50 U.S.C. § 1705
SEYED AMIN GHORASHI SARVESTANI,

a/k/a “Amin Ghorashi, ” COUNTY OF OFFENSE:
a/k/a “Amin Gorechi,’” : NEW YORK .
Defendant.
- ~ - - - - - - - - - ~ = -_ ~ ~ ~ x
COUNTY OF NEW YORK )
STATE OF NEW YORK ) ss.:

SOUTHERN DISTRICT OF NEW YORK )

Special Agent Brian Surer, being duly sworn, deposes
and says that he is a Special Agent of the Federal Bureau of
Investigation (“FBI”), and charges as follows:

COUNT ONE: CONSPIRACY TO VIOLATE THE INTERNATIONAL EMERGENCY
ECONOMIC POWERS ACT (“IEEPA” }

1. From at least in or about November 2005, up to and
including in or about November 2011, in the Southern District of
New York and elsewhere, SEYED AMIN GHORASHI SARVESTANI, a/k/a
“Amin Ghorashi,” a/k/a “Amin Gorechi,” the defendant, and others
known and unknown, unlawfully, willfully, and knowingly did
combine, conspire, confederate, and agree together and with each
other to violate, and to cause a violation of, licenses, orders,
regulations, and prohibitions issued under the International
Bmergency Economic Powers Act, Title 50, United States Code,
Sections 1701 to 1707 and Title 31, Code of Federal Regulations,
Sections 560.203 and 560.204 (collectively, “IEEPA”),

2. It was a part and an object of the conspiracy that
SEYED AMIN GHORASHI SARVESTANI, a/k/a “Amin Ghorashi,” a/k/a
‘Amin Gorechi,” the defendant, and others known and unknown,
would and did export, re-export, cause to be exported and re-
exported, sell, and supply, directly and indirectly, from the

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United States, goods, technology, and services, to wit, satellite
telemetry and electronics equipment supplied by companies in the
United States, to customers located in Iran, without obtaining
the required approval of the Office of Foreign Assets Control,
within the United States Department of Treasury, in violation of
Title 50, United States Code, Sections 1701 to 1707 and Title 31,
Code of Federal Regulations, Sections 560.203 and 560.204.

Overt Acts

3. In furtherance of. the conspiracy and to effect the
illegal object thereof, SEYED AMIN GHORASHI SARVESTANI, a/k/a
“Amin Ghorashi,” a/k/a “Amin Gorechi,” the defendant, and others
known and unknown, committed the following overt acts, in the
Southern District of New York and elsewhere:

a. In or about April 2011, a co-conspirator not
named as a defendant herein caused approximately $16,947 to be
sent via wire transfer from a bank located in New York, New York,
to a business located in Virginia Beach, Virginia (“SUPPLIER-1"),
as payment for a purchase of goods from SUPPLIER-1.

b. In or about September 2011, GHORASHI caused a
check to be issued in the amount of ‘1,180,418.80 United Arab
Emirate Dirhams in order to purchase electronics components from
a United States supplier that were subsequently shipped to Iran
via Hong Kong.

(Title 50, United States Code, Section 1705)

The bases for my knowledge and the foregoing charges
are, in part, as follows:

4.. I ama Special Agent of the FBI, and I have been
personally involved in the investigation of this matter. This
affidavit is based in part upon my conversations with law
enforcement agents and others and my examination of reports and
records. Because this affidavit is being submitted for the
limited purpose of establishing probable cause, it does not
include all the facts that I have learned during: the course of my
investigation. Where the contents of documents or communications
and the actions, statements and conversations of others are
reported herein, they are reported in substance and in part,
except where otherwise indicated.

ZI. LEGAL BACKGROUND
5. By virtue of the IEEPA, Title 50, United States
Code, Sections 1701-05, the President was granted authority to

deal with unusual and extraordinary threats to the national

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security and foreign policy of the United States. See 50 U.S.C.
§§ 1701, 1702. On March 15, 1995, the President issued Executive
Order 12957, finding that the actions and policies of the
Government of Iran constituted an unusual and extraordinary
threat to the national security, foreign policy, and economy of
the United States, and on that date declared a national emergency
to deal with that threat. See Exec. Order No. 12957, 60 Fed. -
Reg. 14615 (March 15, 1995). On May 6, 1995, the President
issued Executive Order 12959 to take steps with respect to Iran
in addition to those set forth in Executive Order 12957. See
Exec, Order No. 12959, 60 Fed. Reg. 24757 (May 6, 1995). On
August 19, 1997, the President issued Executive Order 13059 in
order to clarify the steps taken in Executive Orders 12959 and
12957. See Exec. Order No. 13059, 62 Fed. Reg. 44531 (August 19,
1997) (*E.O. 13059") ,*

6. To implement Executive Order 13059, which itself
was issued pursuant to the powers granted to the Executive under
IEEPA, the Office of Foreign Assets Control (“OFAC”) issued the
Iranian Transactions Regulations (“ITR”). See 31 C.F.R. Part
560. Absent permission from OFAC, the ITR prohibits, with very
Limited exception, among other things: (1) the exportation,
reexportation, sale, or supply, directly or indirectly, or by a
United States person, wherever located, of any goods, technology,
or services to Iran or the Government of Iran, including the
exportation, reexportation, sale, or supply of any goods,
technology, or services to a person in a third country undertaken
with knowledge or reason to know that such goods, technology, or
services are intended specifically for supply, transhipment, or
reexportation, directly or indirectly, to Iran or the Government
of Iran (31 C.F.R. Section 560.204); and (2) any transaction by
any United States person that evades or avoids, or has the
purpose of evading or avoiding, or attempts to violate, any of
the prohibitions contained in the ITR (31 C.F.R. Section
560.203).

7. Under IEEPA, it is a crime to knowingly and
willfully violate any regulation promulgated under IEEPA. See: 50
U.S.C. § 1705(c). As noted above, the ITR was promulgated under
IEEPA.

+ At all times relevant to this Complaint, the President

has continued the national emergency with respect to Iran, as
reflected in Executive Orders 13059, 12959, and 12957. The most
recent continuation of this national emergency was reflected in
an Executive Order dated March 8, 2011. See 76 Fed. Reg. 13283
(March 11, 2011).

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It. THE DEFENDANT

8. Based on, among other things, my review of
documents obtained from judicially authorized search warrants for
certain communications (the “Search Warrants”) and public source
information, I understand that SEYED AMIN GHORASHI SARVESTANI,
a/k/a “Amin Ghorashi,” a/k/a “Amin Gorechi,” the defendant, was,
at all times relevant to this Complaint, a Managing Director and —
‘part-owner of Innovative Technology System {“ITS”), and a part-
owner of Skylinks FZC (“Skylinks”), and that as of 2011, GHORASHI
owned approximately 90 shares of stock in “SKY LINKS FZC,” out of
a total of 300 outstanding shares in Skylinks. I also understand
that GHORASHI had a managerial role at ITS and Skylinks, with
supervisory authority over other employees.

9. Based on my involvement in this investigation,
including my review of public source information, and other’:
documents, I know that ITS and Skylinks are interrelated
companies located in the United Arab Emirates. I have reviewed
the website of ITS which contains a list of “ITS Group
Companies,” which includes “Skylinks.” Based on communications
that I have reviewed pursuant to the Search Warrants, I have also
learned that several individuals maintain email addresses at both
ITS and Skylinks, as well as other entities within the “ITS
Group.” The email address typically consists of the user's
first name followed by an “@” and the company designation, such
as, “itsystemsco.com” or “skylinks.ae.”

10. Among other evidence with respect to GHORASHI’s
managerial positions at these companies, I have reviewed a
printout of a LinkedIn profile for an individual named “Amin
Ghorashi,” which was printed on or about February 16, 2012, which
lists “Ghorashi” as the “Managing Director, Innovative Technology
Systems,” located in the United Arab Emirates.? A 2011 Dun and
Bradstreet report for ITS (“ITS D&B Report”) lists “Amin Gorechi”
as the Managing Director of ITS. Based on my training,
experience, and participation in this investigation, I believe
that “Amin Gorechi” is SEYED AMIN GHORASHI SARVESTANI, a/k/a
“Amin Ghorashi,” a/k/a “Amin Gorechi,” the defendant. The ITS
D&B Report also reports that “a legal agreement exists assigning

? Based on my review of Internet resources, including the
website of LinkedIn and other websites describing the site's
operation, I understand that LinkedIn is a social networking
website used for professional networking. Users can create
profiles on the site in which they provide their identifying
information, such as name and employment history, and through
LinkedIn, make contact with business associates as well as
potential employers.
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control of the business [i.e., ITS] to Amin Gorechi.” A
financial report issued by Dun and Bradstreet regarding Skylinks
("Skylinks D&B Report”) also reflects that “Amin Ghorashi” is a
director of Skylinks.

IIL. ITS AND SKYLINKS’S BUSINESS OF EXPORTING GOODS TO IRAN

11. Based upon my review of numerous communications
sent by or received by Skylinks and ITS employees, I believe that
the vast majority of business transactions conducted by Skylinks
and ITS involve the procurement of goods on behalf of Iran,
including U.S.-origin goods.

a. For instance, I have reviewed a communication
sent from one co-conspirator working for Skylinks ("“CC~1") to
other co-conspirators employed by the company ("“CC-2" and *“CC-3")
containing what appear to be charts summarizing Skylinks’ --
business in the past several years. One chart appears to
summarize all of Skylinks’s business in the company's fifth year
of operation, which I believe to be from in or about June 2010 to
in or about June 2011. Of the thirteen deals listed for the year
in the chart, seven are identified in the chart as being deals
with the “consignee” in Iran.

b. A second chart pertaining to Skylinks's
business that is included in the same communication describes
products sold from in or about October 2008 until in or about
December 2011 to Informatics Services Corp., which I know from
the review of other communications obtained through search
warrant and through the company’s website to be a company located
in Iran. The chart reveals that Skylinks engaged in a high
volume of business transactions with Informatics, referencing
what appear to be over $1 million in transactions during a single
year. This chart identifies 32 items as having been delivered to
Iran from October 2008 until in or about December 2011. Of those
32 items, at least 22 appear to be products manufactured in the
United States, based upon the identifying information provided in
the chart.

c. In addition, from reviewing communications
sent to and from Skylinks and ITS employees (including, for
example, shipping documents and invoices sent and received) I and
other agents have identified approximately 30 transactions
between 2008 and 2012 in which Skylinks or ITS has arranged for
U.S.-made goods to be shipped to companies in Iran.

12, The Skylinks D&B Report and the ITS D&B Report
provide additional evidence that the business of Skylinks and ITS
includes shipping products from the United States to Iran.

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Skylinks describes itself on its website as an entity that has
‘the ability to supply telemetry technology including modems,
antennas, broadcast equipment, and other satellite equipment, and
claims to be capable of providing components manufactured in the
United States. The Skylinks D&B Report also states that Skylinks
exports goods to Iran.

13. Similarly, the ITS D&B Report also reflects that
ITS “IMPORTS FROM,” among other countries, the “United States,"
and that it “EXPORTS TO:-Iran.” The ITS D&B Report does not list
any other countries to which ITS exports.

Iv, CERTAIN IDENTIFIED SALES TO TRAN

14. As explained more fully below, my investigation
has revealed that SEYED AMIN GHORASHI SARVESTANI, a/k/a “Amin
Ghorashi,” a/k/a “Amin Gorechi,” the defendant, through ITS and
Skylinks, has arranged to export goods - including telemetry
technology and electronics - from the United States to Iran, via
Malaysia. GHORASHI, through and with his co-conspirators,
certain employees of ITS and Skylinks and certain shipping
companies associated with ITS and Skylinks, obtained some of
these goods from a company based in Virginia Beach, Virginia
(“SUPPLIER-1") .

15. The investigation has shown that at no time did
SEYED AMIN GHORASHI SARVESTANI, a/k/a “Amin Ghorashi,” a/k/a
“Amin Gorechi,” the defendant, obtain authorization from the
Office of Foreign Assets Control for the shipment of goods from
the United States to Iran described herein, nor did SUPPLIER-1 or
the other entities involved in the shipment of goods for GHORASHTI
ever obtain such authorization.

A. Evidence of GHORASHI’s Knowledge of U.S. Export
Regulations From Transaction With Virginia Company

16. Based on my review of documents obtained from a
supplier of satellite-communications technology and hardware
located in Herndon, Virginia (“SUPPLIER-2”) pursuant to a
subpoena, communications seized pursuant to the Search Warrants,
and the other sources of information described below,’ I
understand that, between approximately 2006 and 2009, SEYED AMIN
GHORASHI SARVESTANI, a/k/a “Amin Ghorashi,” a/k/a “Amin Gorechi, ”
the defendant, and other ITS/Skylinks representatives, obtained
satellite communications equipment from SUPPLIER-2 and received
those goods in Dubai. GHORASHI and others, however, ultimately
re-shipped some of that equipment to a company in Iran in which
GHORASHI has an ownership stake, and then took steps to conceal
that re-shipment from SUPPLIER-2.

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a. On or about November 18, 2005, SEYED AMIN
GHORASHI SARVESTANI, a/k/a “Amin Ghorashi,” a/k/a “Amin Gorechi,”
the defendant, as a representative of ITS and its affiliates,
signed a “Reseller Agreement” with SUPPLIER-2, pursuant to which
ITS was designated as a “Reseller” for SUPPLIER-2, so that ITS
and its affiliates could purchase products sold by SUPPLIER-2 and
re-sell those products to other entities. The Reseller Agreement
provided that:

i. “For all shipments to Reseller
facilities outside of the United States .. . [Reseller will]
comply{] with all requirements set forth in Section 13.7 below.”
Section 13.7 of the Reseller Agreement is titled “Export
Control,” and it provides that:

Reseller shall comply with, and shall, at [SUPPLIER-
2's] request demonstrate compliance with all applicable
export laws, restrictions, and regulations of any
United States or foreign agency or authority. Reseller
shall not export or re-export, or allow the export or
re-export of any product technology or information it
obtains pursuant to this Agreement (or any direct
product thereof) in violation of any such laws,
embargoes, restrictions or regulations.

In addition to other pages of the Reseller Agreement, GHORASHI
signed the page on which Section 13.7 is found.

ii. Exhibit B-2 to the Reseller Agreement
relates to the purchase by ITS and its affiliates of certain
software pursuant to the Reseller Agreement. That Exhibit
contains a provision titled “Export Control,” which states:

As required by U.S. law, Customer [i.e., ITS]
represents and warrants that it: (a) understands that
the Software is subject to export controls under the
U.S. Commerce Department's Export Administration
Regulations (“EAR”); (b) is not located in a prohibited
destination country under the EAR or U.S sanctions; (c)
will not export, re-export, or transfer the Software to
any prohibited destination, entity, or individual
without the necessary export license(s) or
authorization(s) from the U.S. Government.

In addition to other pages of the Reseller Agreement, GHORASHT
signed the pages of the Reseller Agreement on which the foregoing
provision appears.

b. On approximately June 22, 2006, ITS purchased

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approximately $139,107 of electronic equipment used for satellite
communication and data transfer, including: four 48-port LAN
switches; three hub protocol processors; four hub, NMS single
processors; and two KVM switches, 8 Port, ROHS, from SUPPLIER-2,
for shipment to Skylinks in the United Arab Emirates.

c. On approximately July 14, 2006, ITS purchased
fifteen Infiniti 5150 satellite routers from SUPPLIER-2, at a
total.cost of approximately $27,435, for delivery to Cybernet MBA
(a company that shares numerous employees and directors with ITS)
in Dubai, UAE.

, d. On approximately August 30, 2006, ITS
purchased 100 Infiniti 5150 satellite routers, from SUPPLIER-2,
at a total cost of approximately $182,900, for delivery to
Skylinks in Dubai, UAE.

e. On approximately June 30, 2007, ITS purchased
approximately $150,000 of electronic equipment from SUPPLIER-2,
including two KVM switches, 8 port, ROHS, for delivery to
Cybernet MEA in Dubai, UAE.

£. On approximately December 3, 2008, Skylinks
purchased approximately $17,500 of electronics from SUPPLIER-2,
purportedly for delivery to Dubai, UAE.

g. Based on my training, experience, and
participation in this investigation, I understand that the
following items listed above: 48-port LAN switches; hub protocol
processors; hub, NMS single processors; KVM switches; 8 Port,
ROHS; and Infiniti 5150 satellite routers require some form of
software to operate, and I further understand that those items,
along with the other items purchased by ITS and Skylinks from
SUPPLIER-2, as described above, could be utilized as part of a
satellite communications network.

h. On August 26, 2009, SUPPLIER-2 sent a g=>
communication to a co-conspirator employed at Skylinks (“CC-4") >
asking, “Could you tell me what software your [8 amit) Sty G.c«
networks are running currently?” The same day, CC-4 forwarded
the email to another Skylinks employee ("“CC-9") and asked that
employee to reply to SUPPLIER-2. The same day, CC-9 forwarded
the email chain to GHORASHI and to a managing director and part
owner of Skylinks (*"CC-5"), In that communication, CC-9 stated,
“please find below email from [SUPPLIER-2] .we discussed. Kindly
forward to right person at AryanSat to send me [or] just reply
direct to [SUPPLIER-2 address] .”

i. Based on my training, experience, and
participation in this investigation, I believe that the term

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“AryanSat” in CC-9's email refers to Aryan Satellite Inc. The
website of Aryan Satellite reflects that Aryan Satellite is
located in Tehran, Iran, and provides, among other things,
satellite communications services. On the website, Aryan
Satellite is often referred to as “AryanSat.” I have reviewed
records produced in response to a subpoena issued to a webhosting
service provider for the domain name “aryansatellite.com. Those
records reflect that an ITS email address that GHORASHI regularly
uses is listed as one of two email contacts for the
aryansatellite.com domain name. Moreover, the billing address
for the subscriber of the aryansatellite.com domain name lists
the card- holder as “Amin Gh*******," which I believe to be a
reference to SEYED AMIN GHORASHI SARVESTANI, a/k/a “Amin
Ghorashi,” a/k/a “Amin Gorechi,” the defendant.

j. As noted above, I understand that certain of
the electronics purchased by ITS and Skylinks as described above,
can be used in the provision of satellite communication services,
and that, to be so used, the items enumerated above would require
the installation and use of software. Based on my training,
experience, and participation in the investigation, I believe
that, in the email referenced at paragraph (h) above, CC-9 asked
GHORASHI and CC-S to forward SUPPLIER-2's question concerning
software to AryanSat, because the goods that Skylinks had
purchased from SUPPLIER-2 were in fact supplied to AryanSat in
Iran.

k. On August 28, 2009, GHORASHI replied to the
communication from CC-9 described at paragraph (h), above, in
which CC-9 was seeking information from Aryan Satellite regarding
products purchased from SUPPLIER-2. Specifically, GHORASHI
instructed CC-9 and CC-5, “Please be very careful about this
subject. [CC-9], please call them directly and ask all the
question, no email at all.“ Based on my training, experience,
and participation in the investigation, I understand that
GHORASHI was instructing CC-9 to be more careful about generating
documents from which someone might be able to conclude that Aryan
Satellite was utilizing the items purchased by ITS and Skylinks
from the United States, and which were supposed to remain in the
UAE. This in turn indicates to me that GHORASHI was aware that
such reexports of the goods to Iran from Dubai both were illegal
and prohibited by his agreement with SUPPLIER-2, which
underscored GHORASHI‘s responsibility to comply with U.S. export

law. a

1. At or about the same time that ae these C otwuniegchaut
Cir eis Geen Sie pees eae Se eater ai) GHORASHI was
specifically reminded by SUPPLIER- 2 regarding the requirements of
U.S. export law. In particular, on or about August 27, 2009,
SUPPLIER-2 sent an email to GHORASHI stating, “attached to this

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email is a letter from me to you emphasizing [SUPPLIER-2's]
commitment to U.S. Export Controls and our request to you to be
in full compliance with these laws, regulations and
restrictions.”' Attached to the email was a letter addressed to
GHORASHI and CC-5 which stated:

[SUPPLIER-2] would like to take this opportunity to
remind Innovative Technology Systems (ITS) and Skylinks
of the responsibilities agreed to between ITS and
[SUPPLIER-2] in the Reseller's Agreement signed by both
parties.

The letter further enumerated ‘the provisions of the Reseller
Agreement addressing export control restrictions and
prohibitions, including section 13.7 of the agreement. prohibiting
export or re-export in violation of U.S. export law. The letter
further explained that:

A reexport [sic] as defined under U.S. law is to either
transfer product from one country outside of the U.S.
to another country outside of the U.S. or allowing such
a transfer to take place. A reexport [sic] may require
prior written authorization from the U.S. government
before such a transfer takes place depending on the
product and the country it is destined for. .

The letter further stated that ITS and Skylinks were responsible
for exercising “due diligence” under the Reseller Agreement, and
that SUPPLIER-2 “expect[ed] that ITS and Skylinks fully comply
with all aspects pertaining to U.S. export controls.”

™m. On or about August 31, 2009, GHORASHI replied
to the email described in paragraph (j), above, and stated,
“Acknowledged well and thanks for your mail. Kind Regards, Amin
Ghorashi.”

B. 2011 Beacon Receiver Shipment In Violation of IEEPA

17. Based on my review of communications seized
pursuant to the Search Warrants, as well as my review of
documents obtained from SUPPLIER-1, I understand that from at
least March 2011 through in or about July 2011, SEYED AMIN
GHORASHI SARVESTANI, a/k/a “Amin Ghorashi,” a/k/a “Amin Gorechi,”
the defendant, and others known and unknown, purchased five

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Beacon Receivers (hereinafter the “Receivers”)* from SUPPLIER-1,
a United States supplier, for the purpose of trans-shipping to an
Tranian customer.

a. Based on communications to or from Skylinks
employees, I know that in March of 2011, CC-3 sent a
communication to SUPPLIER-1, which is located in Virginia Beach,
Virginia, requesting a price quote for five Receivers, The
following month, a different co-conspirator employed by Skylinks
and not named as a defendant herein ("“CC-6"”) sent a communication
to SUPPLIER-1 and copied, among others, CC-3, informing
SUPPLIER~-1 that $16,975 had been wired to SUPPLIER-1 “as payment
for our PO SKL-11-P482," Based on documents obtained from
SUPPLIER-1, I understand that “PO [Purchase Order] SKL-11-P482”
corresponds to a Skylinks purchase order for five Receivers that
is dated March 28, 2011. Based upon a wire transfer document
obtained from SUPPLIER-1,; I know that as part of this
transaction, funds were wired into a bank account held by
SUPPLIER-1, from a bank located in New York, New York.

b. Based upon other communications sent to or
from Skylinks employees, I know that the five Receivers were
subsequently transported to Kuala Lumpur. Then, on or about May
1, 2011, CC-6 asked a co-conspirator who I believe coordinates
shipments for Skylinks (“CC-7") to tell CC-6 when the. “shipment, ”
- arrived in Kuala Lumpur (which I believe to be a reference to the
Receivers) and stated “[{t]his should be shipped together with the
tracking controller to Iran."*

4 Based on my training, experience, and participation in
this investigation, I understand that a beacon receiver is a
component used in satellite systems to detect and measure power
signals related to satellite antenna positioning or satellite
‘uplink controls. Beacon receivers ingest information about the
Satellite, such as tracking, identification and antenna polarity.
Beacon receivers typically fit into a rack system alongside other
components, including a host computer, that allow the receiver to
produce digital or analog outputs that assist earth stations in
controlling the satellite.

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* Based on my training, experience, and participation in
this investigation, I understand that tracking controllers are
external hardware devices that work inside a satellite tracking
systems. Tracking controllers allow earth stations to position
and monitor satellite antenna arrays and radio frequencies and
are typically networked with a host computer, a physical rotator
controller and other earth station radio equipment.

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c. Two days later, CC-6 sent a communication to
CC-8 concerning the “Skylinks Incoming Air Shipment from Virginia
US to Kuala Lumpur for Beacon Receiver,” which directed CC-8 to
“speed up this shipment” because “it is needed in Iran ASAP."

d. On or about May 5, 2011, GHORASHT, among
others, received an e-mail communication indicating that the U.S.
Government had detained the shipment of Receivers. In
particular, CC-6 sent a communication on which GHORASHI was
copied stating that Skylinks’ “agent in US has been under
investigation with US Defense because of our first shipment
(tracking controller) which is now in Kuala Lumpur.” CC-6 further
stated that SHIPPER-1 requested that two documents, attached to
the correspondence chain to which CC-6 was responding, be
submitted to SHIPPER-1 before the shipment was sent. The
attachments include a document calling for information including
the “Ultimate Consignee” for the goods to be shipped and the
“Country of Ultimate Destination.”

e. Based on documents I have obtained from
SUPPLIER-1, including a completed “Shipper’s Letter of
Instruction” Form that bears the date May 5, 2011, I understand
that SUPPLIER-1 subsequently received a form for the shipment
stating, among other things, that Malaysia was the ultimate
country of destination. The document is signed by a
representative of SUPPLIER-1. Based on my training, experience
and participation in this investigation, as well as my review of
communications including those discussed above, I submit that the
information contained on the “Shipper’s Letter of Instruction” is
not accurate in light of CC-6's earlier statements that the five
Receivers were to be shipped from Kuala Lumpur to Iran.

£. On or about May 12, 2011, SHIPPER-1 informed
SUPPLIER-1 and several Skylinks employees that SHIPPER-1 would
ship “the cargo” to Kuala Lumpur the following day. Thereafter,
based on my review of communications sent to or from Skylinks
employees, I understand that several Skylinks employees,
including CC-3, CC-6, and CC-8, communicated regarding how to
transport the items from Kuala Lumpur to Iran.

g. On or about May 19, 2011, SUPPLIER-1 emailed
CC-1 with a copy to CC-3 and CC-8, and requested that CC-1
complete an attached form required for US customs to release
“purchase order SKL-11-P482," a reference to the purchase order
for the five Receivers. Based on my training, experience and
participation in this investigation, I understand that SUPPLIER-1
is requesting that Skylinks complete Form BIS-711 with respect to
the Receiver shipment. Form BIS-711 is a form promulgated by the
United States Department of Commerce, which requires, inter alia,
disclosure of the identity and location of the ultimate recipient

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of goods in a particular transaction, and also requires
disclosure if the goods involved in that transaction are to be
reexported to another country. Form BIS-711 also contains
statements referring to the requirement that a license be
obtained for the re-export of goods.

. h. Thereafter, on May 22, 2011, CC-6 sent a
communication to SUPPLIER-1, with a copy to CC-5, as well as CC-3
and CC-1, which stated, in substance and in part, “as of now we
do not have confirm customer for this so we can not fill up some
of.the information required in the form.” I believe that
statement to be false in light of the communications indicating
that the Receivers were in fact being sent to Iran.

i. On or about July 7, 2011, CC~8 sent a
communication to CC-1 and CC-4 which stated, “Pyi” and forwarded
a communication from a U.S. Customs official reporting that the
customs hold on the Receiver shipment had been released and that
SUPPLIER-1 was authorized to move the shipment. On July 8, 2011,
CC-4 forwarded that communication to CC-5 and copied GHORASHI and
CC-1, stating, “Dear [CC-5,] This may be of your interest as i
don’t have any goods oer [sic] there in this situation.” Based
on my training, experience, and participation in this
investigation, I understand that, in the July 8 communication,
CC-4 was alerting GHORASHI, CC-1, and CC-5 that the shipment to
which CC-8 was referring was not one in which he was involved,
and was notifying individuals whom he believed would be
interested in the shipment that the goods had been released.
More specifically, I believe that CC-4 was advising GHORASHI of
the correspondence regarding shipment because GHORASHI exercised
supervisory authority regarding the shipment of goods to
locations including Iran.

j. From subsequent communications to or from
Skylinks employees, I understand that the Receivers were shipped
to Kuala Lumpur before, according to one such communication, the
Receivers were “forwarded to IKA,” which I understand to be an
abbreviation of “Tehran Imam Khomeini International Airport,”
located in Iran.

Cc. GHORASHI is Kept Apprised of Various Illegal Shipments
of United States Goods to Iran

18. According to documents that I have reviewed, on or
about October 22, 2011, CC-4 sent a communication to GHORASHT
with the subject, “ACTIONS & DEALS MONITORING WE WILL DISCUSS
TOMORROW." Attached to the communication was a spreadsheet
titled “OCTOBER - TRACKING STATUS." The attachment contained a
list under the heading, “SKYLINKS,” which, in turn, contained the
entries, “HNS 6 - Cargo in negotiation to be moved to Singapore

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where next step [sic] are pre organised,” and “SSPA paid, under
production, ready 1°* November [sic] will be shipped to HK if sea
or Istanbul if air our new org for transhipment.” Based on my
training, experience, and participation in this investigation,
including my review of communications seized pursuant to the
Search Warrants, I believe that the foregoing communication
reflects CC-4 arranging to discuss with GHORASHI pending
transactions in which Skylinks was sending United States goods to
Iran.

a. I believe that the term “HNS 6” in the
October tracking document refers to a shipping container full of
network parts that Skylinks obtained in Atlanta, Georgia, and
attempted to transship to Iran via Kuala Lumpur, Malaysia, but
which was seized by Malaysian authorities before it left
Malaysia. I have reviewed various communications (and their
attachments) seized pursuant to the Search Warrants that are
related to this shipment. Those communications and documents are
dated from approximately July 20, 2011 through August 30, 2011.
Among the materials I have reviewed are:

i. A May 15, 2011 communication from CC-3
to CC-8 copying CC-4 titled, “HNS 6 STATUS REPORT,” in which CC-3
reported that the shipment would be delivered to,a customer in
Iran, directly from the United States to Tehran, via Malaysia;

di. A June 12, 2011 waybill reflecting the
HNS 6 goods being picked up in Atlanta, GA, and destined for
Malaysia;

iii. An August 15, 2011 communication from
the planned recipient of the network parts in Iran, to CC-1 and
copying CC-4 asking about the status of the HNSO6 shipment;

iv. An August 24, 2011, communication from
CC-7 to CC-1 and copying CC-4, discussing the fact that the
shipment had been seized by Malaysian authorities, and that those
authorities had “not approved [the] shipment for transhipment to
Iran as per US regulation[,] any [thing] exported from the United
States, diversion contrary to U.States [sic] law prohibited.”

b. I believe that the term “SSPA” in the October
tracking document refers to a shipment of Solid State Power
Amplifiers (*“SSPAs"”) that Skylinks obtained from a United States
supplier in or. about November 2011, and which were transhipped
through Hong Kong to Iran. I have reviewed various
communications (and their attachments) seized pursuant to the
Search Warrants that are related to this shipment. Those
communications and documents are dated from approximately March
17, 2011 through June 16, 2012. Among the materials I have
reviewed are:

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i. a March 17, 2011 quotation from the
California-based supplier and addressed to CC-3 for the SSPAs;

ii. a September 27, 2011 cover memo and
check signed by GHORASHI to pay for the SSPAs via an
intermediary;

iii. A September 29, 2011 communication from
Cc-4 to GHORASHI regarding a payment related to the SSPA
shipment;

iv. a “Shipment Detail Screen - Airfreight”
reflecting that the SSPAs were to be picked up in Washington, DC,
on or about November 15, 2012, to be delivered via air to Hong
Kong; and

Vv. A June 16, 2012 communication from an
individual located in Tehran, Iran, to CC-4 reporting that the
SSPAs were not functioning properly.

19. I have reviewed a communication that was recovered
pursuant to the Search Warrants, which stated, in substance, that
attached to the communication was a “Skylinks trade license and
the passport copy of Mr. Amin [and two individuals associated
with Skylinks].” Also attached to the communication was a
photocopy of a passport issued by the Commonwealth of Dominica to
Seyed Amin Ghorashi Sarvestani. The photocopy of the passport
also contained a photograph of the passport holder.

WHEREFORE, the deponent respectfully requests that a
Warrant issue for the arrest of SEYED AMIN GHORASHI SARVESTANI,
a/k/a “Amin Ghorashi,” a/k/a “Amin Gorechi,” the defendant, and
that he be imprisoned, or bailed, as the case may be.

"~~

(DS

Brian Surer _
Special Agent
Federal Bureau of Investigation

Sworn to befgre me this
ee Octob r/2012
THE HOWORABLE FRANK MAAS

UNITED STATES MAGISTRATE JUDGE
SOUTHERN DISTRICT OF NEW YORK

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